

Bank of N.Y. Mellon v Garrett (2016 NY Slip Op 07155)





Bank of N.Y. Mellon v Garrett


2016 NY Slip Op 07155


Decided on November 2, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 2, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
LEONARD B. AUSTIN
SANDRA L. SGROI
COLLEEN D. DUFFY, JJ.


2014-04557
 (Index No. 5132/11)

[*1]Bank of New York Mellon, etc., respondent, 
vJennifer Garrett, appellant, et al., defendants.


Jennifer Garrett, Chester, NY, appellant pro se.
Blank Rome LLP, New York, NY (Jill E. Alward and Timothy W. Salter of counsel), for respondent.



DECISION &amp; ORDER
In an action to foreclose a mortgage, the defendant Jennifer Garrett appeals from an order of the Supreme Court, Orange County (Slobod, J.), dated October 2, 2013, which denied those branches of her motion which were for leave to reargue and renew her opposition to that branch of the plaintiff's prior motion which was for summary judgment on the complaint insofar as asserted against her.
ORDERED that the appeal from so much of the order as denied that branch of the motion which was for leave to reargue is dismissed, as no appeal lies from an order denying reargument; and it is further,
ORDERED that the order is affirmed insofar as reviewed; and it is further,
ORDERED that one bill of costs is awarded to the plaintiff.
The plaintiff commenced this action to foreclose a mortgage executed by the defendants Jennifer Garrett and Marvin Bracey against their residential property located in Chester, New York.
The Supreme Court properly denied that branch of Garrett's motion which was for leave to renew her opposition to that branch of the plaintiff's motion which was for summary judgment on the complaint insofar as asserted against her. A motion for leave to renew must be based, as is relevant here, on "new facts not offered on the prior motion that would change the prior determination" (CPLR 2221[e]). Here, the new facts offered by Garrett would not have changed the prior determination.
The parties' remaining contentions are either not properly before this Court or without merit.
RIVERA, J.P., AUSTIN, SGROI and DUFFY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








